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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
Albert Thrower,
Plaintiff,
Vs . Case No.
Judge Mona Scott
City of Cleveland

City of Cleveland Prosecutor’s Office
Defendants

MEMORANDUM OF LAW IN SUPPORT OF TRO AND PRELIMINARY INJUNCTION
STATEMENT OF THE CASE

This is a civil rights action brought under 42 USC Section 1983 by Cuyahoga Resident
ALBERT THROWER who per (D) Judge Mona Scott, City of Cleveland Housing Dept Judge
ordered (P) Thrower that he could not “sell his property” at 1310 W89th CLE OH, without
permission of court-which has repeatedly denied permission=same as NO PERMISSION i.e,

“cannot sell his property”.

1) Saint Anthony Church (Inc) was served with housing violations @ 1310 W89th Cleve OH-
Albert Thrower owned 50% of the property, not Saint Anthony Church (Inc).

2) Saint Anthony Church (inc) pled to housing violations where the maximum sentence was
related to St Anthony Church (inc) under Ohio law does not aliow for NO SALE ORDER as

punishment 3/29/23 as to the maximum sentence,

3) During the 6/21/23 sentencing ST ANTHONY CHURCH (inc) was told corporation could not
sell 1310 W89th CLE OF but it was not reflected on 6/27/23 Journal Entry Ex D & 6/27/23
Journal Entry in fact per Loe R 2.18 para 3, Ex B served on (P) as part of sentencing Journal
Entry gave (P) NOTICE he could sell the house then "notify the court” when offender has any
change in the property owned or controlled"= Past Tense, per Ex B Local Rule 2.18(3).

4) 7/17/23 JE entered without jurisdiction Ex C, since the sentence had already been imposed
6/21/23-informed ST ANTHONY CHURCH INC, that (P) he could NOT self 1310 W89th

without permission of Court as additional punishment. The (D) Judge Scott trial court repeatedly

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denied permission in Cleveland Municipal trial court Cleveland v St Anthony Church, Case No.
2022CRB003944, 2022CRB003945 many times without Journal Entry, The No sale of property
violates Ohio & US Constitutional rights,

5) (P) is suffering daily “irreparable harm”,

6) This case has nothing to do with a criminal conviction, it is solely asking for the right to sell
(P) 50% interest in property 1310 W 89" Cleveland OH, as Cleveland Local Rule 2.18 (3) states.

Ex B, which has nothing to do with the criminal case.

THE PLAINTIFF IS ENTITLED TO A TEMPORARY RESTRAINING ORDER AND A
PRELIMINARY INJUNCTION

In determining whether a party is entitled to a temporary restraining order or a preliminary
injunction, courts consider several factors: whether the party will suffer irreparable injury, the
“balance of hardships’ between the parties, the likelihood of success on the merits, and the public

interest. Each of these factors favors the grant of this motion.”

As a matter law, the continuing deprivation of constitutional rights constitutes irreparable
harm” Elrod v Burns, 427 US 347, 373.

2) The Cleveland Local R 2.18 (3), Ex B allows for the (P) to sell his property,

3) The “public interest” weighs in favor of (P) that he should be allowed to “sell his
property”, per Ohio Constitution “Per Ohio Constitution Article I Sec 19 "private property shall
ever be held inviolate, but subservient to public welfare" & "rights related to property, i.e. to
acquire, use enjoy, and dispose of property" as "among the most revered in our law and
traditions" Norwoed vy Horney, 853 NE2d 1115. Yoder v City of Bowling Green,
#3:17CV2321(ND OH), 5, 14th Amendment "takings clause", 1:16CV1076" Pund v, City of
Bedford, 339 F. Supp. 3d 701, (N.D. Ohio 2018), and the “takings clause” of 5, 14" Amendment
United States Constitution all hold that “private property” cannot be codified to become

unsellable without city local rule permission, either through the building departments or other.

Per Knick v Twp of Scott, 588 US #17-647 (2019), a violation of the “takings clause” can

“immediately” be brought in the federal court.

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The likelihood of success is great because even the Cleveland codified Local Rule 2.18 3)Ex
B, states that property can be transferred i.e., “change of ownership” and then the (D) -Judge
SCOTT- trial court be notified AFTER the change of ownership is effected in accordance with
the Ohio Constitution Article I, Sec 19 and federal courts have repeatedly struck down city codes
that mandate a “point of sale” inspection before POS transfer can be made. See Pund v. City of
Bedford, 339 F, Supp. 3d 701 (N.D. Ohio 2018)

THE BALANCE OF HARDSHIPS FAVOR THE PLAINTIFF

In deciding whether to grant TRO’s and preliminary injunctions, courts ask whether the
suffering of (P) and his potential suffering if he is not allowed to self his property. Winter is
approaching and it hard to seli property in the winter, (P) had a heart attack in (P) Scott trial

court 6/11/24 and had to be taken away in an ambulance and have a balloon placed in his heart.
THE RELIEF SOUGHT WILL SERVE THE PUBLIC INTEREST

1) (D) city of Cleveland representalive was quoted in Cleveland.com that “tno sale” order
was a “secret weapon”. The “secret weapon” is contrary fo the Cleveland local Rule 2.18
(3), the Ohio Constitution, United States Constitution. In this case, the grant of relief will
serve the public interest because if is always in the public interest for officials to follow
the law, Cleveland Local R 2.18(3), Ex B, Duran v Anaya, 672 FSupp 510, 527 “respect
for the law, particularly by officials responsible for the administration of .., system, is in

itself a matter of the highest public interest” see Llewelyn v Oakland County Prosecutor s
OFTICE, 402 FSupp 1379, 1393 (ED Mich) “the Constitution is the ultimate expression

of the public interest”, In re property rights and the ability fo “dispose of property”.
“under the Ohio Constitution, private property righis are ‘fundamental rights’ to be
‘strongly protected’ Norwood y Horrey, 110 Ohio $t3d, 361-62, “Ohio ,.. right of
property to be a fundamental right... strongly protected, Ohio, ‘ordinance violate
Constitution .,. no malter how great the weight of the other forces,., takings claim, if
described the ‘right related to property to be a fundamental tight ..lo acquire, use, enjoy,
and dispose of property’ as ‘among the most revered in our law and traditions” Norwood,
@ 361, Yoder v City of Bowling Green, 3:17-cv-02321 (ND OHIO),

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2) Per Knick v Tip of Scott, 588 US—(2019) Docket No. 17-647 “ordinance violated
Takings Clause.,. A property owner acquires a right to compensation immediately upon
an uncompensated taking because the taking itself violates the 5 Amendment”, and

allowing immediate federal court intervention.
THE PLAINTIFF SHOULD NOT BE REQUIRED TO POST SECURITY .

Per FRCP 650, the (P) is usually asked to post security, but (P) is just asking the (Ds’) to

follow the law,
CONCLUSION

For the foregoing reasons, the court should grant the motion in its entirety

8/22/2024

Respectfully submitted,

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